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_________________________________________________________________________________

                                                  SO ORDERED,



                                                  Judge Jason D. Woodard
                                                  United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: JAMIE W. WREN                                         CHAPTER 13

   DEBTOR                                                       CASE NO. 18-14948 JDW

                                           ORDER

           THIS CAUSE came on before the Court, Debtor’s Objection to the Proof of

   Claim filed by 21ST Mortgage Corporation [Claim No. 5], no response having been filed

   by the deadline set by the Court, XXX
                                     and the Court XXXXXXXXXXXXXXXXXXXXXX
                                                   being fully advised in the premises, finds    (JDW)

   that:

           It is therefore, ORDERED that the arrearage portion of the Proof of Claim filed

   by 21ST Mortgage Corporation [Claim No. 5] is disallowed.

                                        #ENDOFORDER#

   SUBMITTED BY:
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